












Dismissed and Memorandum Opinion filed May 20, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00321-CR

____________

&nbsp;

DANIEL BERNAL, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 437th District Court

Bexar County, Texas

Trial Court Cause No. 2006-CR-9866

&nbsp;



&nbsp;

MEMORANDUM
OPINION

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the
Clerk of the Court to issue the mandate of the Court immediately.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Brown, Sullivan, and Christopher.

Do Not Publish C Tex. R. App. P. 47.2(b)





